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                                                                                          OHISINl^lL
                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NEW YORK


        uCe vjuill/Ac W\S
                                                            Complaint for Violation of Civil
                                                            Rights
                                                           (Non-Prisoner Complaint)                  / I A.
(Write thefull name ofeach plaintiffwho isfiling                A r>r\ 4r»^0<€ P
this complaint. Ifthe names ofall the plaintiffs
                                                            CaseNo.              2,1
 cannotfit in the space above, please write "see
attached" in the space and attach an additional
                                                           (to befilled in by the Clerk's Office)    (J"O
page with thefull list ofnames.)
                                                            Jury Trial: '^Yes □ No
                                                                            fcneck one)
    -against-

 c \ryj op

(Write thefull name ofeach defendant who isbeing
sued. Ifthe names ofall the defendants cannotfit
                                                                                   OCT I 7 2018
in the space above, please write "see attached" in
 the space and attach an additional page with the
full list ofnames.Do not include addresses here.)                         PRO SE OFFICE

                                             NOTICE

 Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting
 from public access to electronic court files. Under this rule, papers filed with the court should
 not contain: an individual's full social security number or full birth date; the full name of a
 person known to be a minor; or a complete financial account number. A filing may include
 only: the last four digits of a social security number; the year of an individual's birth; a
 minor's initials; and the last four digits of a financial account number.

 Plaintiff need not send exhibits, affidavits, grievance or witness statements, or any other
 materials to the Clerk's Office with this complaint.

 In order for your complaint to be filed, it must be accompanied by the filing fee or an
 application to proceed in forma pauperis.
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I.    The Parties to This Complaint

      A.    The Plamtiff(s)

            Provide the information below for each plaintiff named in the complaint. Attach
            additional pages if needed.

                   Name                   RnuC-e ^\i[ / A                            5
                   Street Address

                   City and County         lo^C                          C/rL
                   State and Zip Code                                   I l/cr^
                   Telephone Number
                   E-mail Address


      B.    The Defendant(s)

            Provide the information below for each defendant named in the complaint,
            whether the defendant is an individual, a government agency, an organization, or
            a corporation. For an individual defendant, include the person'sjob or title (if
            known)and check whether you are bringing this complaint against them in their
            individual capacity or official capacity, or both. Attach additional pages if
            needed.


            Defendant No. 1

                   Name                   .g/ri oF AJ^ytsr?!/'
                   Job or Title           r.ln U^/^.pT/7Mt9-i /sr erf iTX i
                  (if known)
                   Street Address          I     Cei^Tnj2. <^7~                                i :i2S'
                   City and County         K/^<^yon({                                            cooX
                   State and Zip Code                  ydn.^ fno oy ^
                   Telephone Number
                   E-mail Address
                  (if known)
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            Defendant No.2

                   Name                                 O'CA^-lOUl ^
                  (?ta^'T                         r)^Pi6-erx.
                   Street Address      I folirfi QLA?.fir
                  City and County      (UfjLt^ wnn(I c(XL f\/C<^                ^ ro<^
                  State and Zip Code    N<luJyoa(C
                                        /w^C^—t^Orl vC       ^
                  Telephone Number      I                   roQp
                  E-mail Address
                  (if known)


            Defendant No. 3

                  Name

                  Job or Title
                  (if known)
                  Street Address
                  City and County
                  State and Zip Code
                  Telephone Number
                  E-mail Address
                  (if known)


           Defendant No.4

                  Name

                  Job or Title
                 (if known)
                  Street Address

                  City and County
                 State and Zip Code
                 Telephone Number
                 E-mail Address
                 (if known)
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II.   Basis for Jurisdiction

      Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any
      rights, privileges, or immunities secured by the Constitution and [federal laws]." Under
      Bivens v. Six Unknown Named Agents ofFederal Bureau ofNarcotics^ 403 U.S. 388
      (1971), you may sue federal officials for the violation of certain constitutional rights.

      A.     Are you bringing suit againstCc/iec^ all that apply):

                     State or local officials(a § 1983 claim)
             □       Federal officials (a Bivens claim)

      B.     Section 1983 allows claims alleging the "deprivation of any rights, privileges, or
             immunities secured by the Constitution and [federal laws]." 42 U.S.C. § 1983. If
             you are suing under section 1983, what federal constitutional or statutory right(s)
             do you claim is/are being violated by state or local officials?

                                                                     (PAg^

      C.     Plaintiffs suing uhd^ Bivens may only recover for the violation of certain
             constitutional rights. Ifwu are suing under Bivens^ what constitutional right(s)
             do you claim is/are being vlol^ed by federal officials?




      D.     Section 1983 allows defendants to be found liable only when they have acted
             "under color of any statute, ordinance, regulation, custom, or usage, of any State
             or Territory or the District of Columbia." 42 U.S.C. § 1983. If you are suing
             under section 1983, explain how each defendant acted under color of state or local
             law. If you are suing under Bivens^ explain how each defendant acted under color
             of federal law. Attach additional pages if needed.
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III.   Statement of Claim

       State as briefly as possible the facts of your case.Describe how each defendant was
       personally involved in the alleged wrongful action, along with the dates and locations of
       all relevant events. You may wish to include further details such as the names of other
       persons involved in the events giving rise to your claims. Do not cite any cases or
       statutes. If more than one claim is asserted, number each claim and write a short and
       plain statement ofeach claim in a separate paragraph. Attach additional pages if needed.

       A.     Where did the events giving rise to your claim(s) occur?
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                   ^ /.iC iv/-y [ i{6h
                                       f
       B.     What date and approximate time did the events giving rise to your claim(s) occur?
                                                     \0 -2^0                    -y-.'^oAiv


             What are the facts underlying your claim(s)? (For example: What happened to
             you? Who did what? Was anyone else involved? Who else saw what happened?)
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IV.    Injuries

       If you sustained injuries related to the events alleged above, describe your injuries and
       state what medical treatment, if any, you required and did or did not receive.



                                              PrTl




V.     Relief

       State briefly what you want the court to do for you. Make no legal arguments. Do not
       cite any cases or statutes. Ifrequesting money damages,include the amounts ofany
       actual damages and/or punitive damages claimed for the acts alleged. Explain the basis
      for these claims.




VI.   Certification and Closing
      Under Federal Rule of Civil Procedure 11, by signing below, 1 certify to the best of my
      knowledge,information, and beliefthat this complaint:(1)is not being presented for an
      improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
      cost oflitigation;(2)is supported by existing law or by a nonfrivolous argument for
      extending, modifying, or reversing existing law;(3)the factual contentions have
      evidentiary support or, if specifically so identified, will likely have evidentiary support
      after a reasonable opportunity for further investigation or discovery; and (4)the
      complaint otherwise complies with the requirements of Rule 11.
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      A.    For PartiesWithout an Attorney
            I agree to provide the Clerk's Office with any changes to my address where case-
            related papers may be served. I understand that my failure to keep a current
            address on file with the Clerk's           result in the dismissal of my case.
            Date of signing:            ,20 I

            Signature ofPlaintiff                         A/.
            Printed Name ofPlaintiff r^OuCg, ^ lill
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                   A-lTA
   BASIS FOR JURISDICTION
   B
   First amendment right to free speech and right to take photographs in public.13th amendment violation
   since the officers were not punished for their crimes and are free to do to plaintiff as they please, plaintiffs
   status is reduced to chattel, detained and caged with no legal reason to do so on many occasions

   D
   There were 3 previous encounters with Officer Louis where plaintiff was punished for exercising his free
   speech rights

   First time 6/5/08 only plaintiff had my ID taken despite the fact that Officer Louis and his partner were
   checking to see if plaintiff and associate were burglars. When plaintiff spoke up, only his ID was checked.

   On the second occasion , Officer Louis was present with 2 other officers when plaintiff attempted to tell of
   an actual burglar. One ofthe officers assaulted and cursed him while Officer Louis said nothing and didn't
   report it.

   On the third occasion. Officer Louis saw plaintiff taking his picture during what looked to be a suspicious
   stop and frisk from a block away.

  On the fourth occasion, November 10,2015 he was called to arrest plaintiff, in docket # 2015QN055893 At
  the stationhouse a visitor asked to see him but Lieutenant Kim told him no."He's known to the department
  for taking pictures and saying bad things."

    Officer Louis testified falsely about many things while under oath to get revenge, as did Garcia in what
   looked to be a concerted effort to jail me in revenge for previous slights. Disrespecting his dog is what a
   neighbor who stopped the attack testified at the criminal trial that Garcia had told him when asked.

   Acting together plaintiff was arrested by Officer Louis whose partner took the pictures of Garcia which is
   not what was testified to by Garcia. The city allows this by making it impossible to bring charges and
   Officer Louis used his authority to arrest me for revenge, using Garcia's false statements to do so.

    Docket # 2015QN055893 in Queens County NY 11/10/2015 IFO 35-29 Crescent Street, at 7:30AM
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    STATEMENT OF CLAIM

    At 7:30 A.M. on November 10 2015, was passing my house on November 11,2015 and made an
    intimidating face at plaintiff. As plaintiff was returning to his house, walking in the opposite direction,
    Garcia ran back to plaintiffs residence and assaulted him,sitting on top of plaintifffor more than five
    minutes.

   His roommate came by and spoke with him but didn't do anything despite plaintiff asking for help. Two
   persons passing by made 911 calls to report plaintiff was being assaulted. When the ambulance came they
   wanted plaintiff to agree to a cat scan which was declined. Plaintiff was so bruised he was made to wear
   gloves to get in the ambulance for treatment.

   Garcia was mad plaintiffrefused to pet his dog for ten minutes every time he walked it as well as being
   furious that plaintiff wasn't happy Garcia's dog urinated on a chained up bicycle while plaintiff was
   watching.

   After that Garcia harassed plaintiff at every opportunity including making remarks about plaintiff's wife as
   she passed him in the street. .

   He told the neighbors plaintiff pepper sprayed his dog and when nobody cared he changed that to taking
   pictures of his child thru his window as he testified in court but video evidence contradicts that.

   Officer Louis testified under oath that he arrived a minute and a halfafter the first unit, which was a
   Housing Bureau unit. Video evidence contradicts that. He made many other false statements under oath
   such as the origins of my shoes and jacket said to be given by him.

   This filing is poorly written and the plaintiff acknowledges that, having been abandoned by the Bar
   Association running the Pro se office without hearing even the smallest amount ofdetails, not looking at
   any videos which were crucial to the defense in the criminal case. They made threats of penalties ifthis
   wasn't taken to state court but the people being accused have influence there as stated in a previous case in
   Federal Court

   This complaint is forty years in the making, this new incident is Just the latest in a series that have never had
   a complaint taken, so the plaintiff, acting on his own is now in Federal Court because there is nowhere else
   to go. .

   Suing for damages is the only venue left and it only gives the taxpayer his own money, none will come from
   the offenders nor will they be punished.
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                    A-T7
    INJURIES

    Garcia slammed plaintiffs head into the ground and was about to crack open his skull when he was stopped
    by kicking out at him, hitting his nose.

    This was an attempted murder as plaintifffeels that one more blow to the head would have split it open,
    possibly causing death or serious injury. Made to wear gloves to get into the ambulance because ofthe
    severity ofthe injuries, a cat scan was demanded but refused by plaintiff who was able to stop the attack
    before permanent injury could occur.
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    RELIEF


    The $75 million figure quote in the original complaint will reduced to $25 million since two ofthe
    offending parties have been placed out of reach ofthis lawsuit.

    A large portion ofthe money will be used to make sure that complaints are heard and taken. Also, relief in
    the form ofa complaint being taken by competent law enforcement should it be shown that perjury was
    committed while under oath in the Federal Court ifsaid happens.
